Case 4:19-cv-07123-PJH   Document 679-7   Filed 04/04/25   Page 1 of 33




              EXHIBIT B
   to Declaration of Dana Trexler in Support of
 Plaintiffs’ Opposition to Defendants’ Motion for
Summary Judgment or Partial Summary Judgment
     Case 4:19-cv-07123-PJH     Document 679-7         Filed 04/04/25   Page 2 of 33




                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA




                                          )
                                          )
WHATSAPP INC. and                         )
META PLATFORMS, INC.,                     )
                                          )
                       Plaintiffs,        )
                                          )
                                          )      Case No. 19-cv-07123-PJH
v.                                        )
                                          )
                                          )
NSO GROUP TECHNOLOGIES                    )
LIMITED and Q CYBER                       )
TECHNOLOGIES LIMITED,                     )

                     Defendants.




                EXPERT REPORT OF DANA TREXLER, CPA/CFF

                                     August 30, 2024

             HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
              Case 4:19-cv-07123-PJH            Document 679-7            Filed 04/04/25         Page 3 of 33

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 1


         I.    INTRODUCTION
1.   On October 29, 2019, WhatsApp Inc. (“WhatsApp”) and Meta Platforms, Inc. (“Meta”)1
     (collectively, “Plaintiffs”) filed a complaint against NSO Group Technologies Limited (“NSO”)
     and Q Cyber Technologies Limited (“Q Cyber”) (collectively, “Defendants”) alleging that
     Defendants used WhatsApp servers to send malware to mobile phones and devices for the purpose
     of extracting data from other WhatsApp users’ target devices and conducting surveillance on those
     users.2 As a result of Defendants’ alleged conduct, Plaintiffs assert that Defendants violated the
     Computer Fraud and Abuse Act (in violation of 18 U.S.C. § 1030) and the California
     Comprehensive Computer Data Access and Fraud Act (in violation of California Penal Code §
     502), and breached the terms of service with WhatsApp to which Defendants became bound upon
     their creation of WhatsApp accounts.3

2.   This report contains my opinions with respect to the economic remedy amounts, along with the
     bases for these opinions, to be expressed at trial with respect to the claims filed by Plaintiffs against
     Defendants.

3.   My analyses and opinions assume Defendants will be found liable for the alleged conduct. This
     assumption is necessary as a basis for my analysis. I have not been engaged to provide opinions
     on issues relating to liability; therefore, I offer no opinions on liability in this report and do not
     intend to express any such opinions at trial.




     1
       Facebook Inc. changed its name to Meta Platforms Inc. in October 2021. See Chris Stokel-Walker, Why Facebook
     Changed Its Name to Meta and What is the Metaverse?, NewScientist (Oct. 21, 2021),
     https://www.newscientist.com/article/2295438-why-has-facebook-changed-its-name-to-meta-and-what-is-the-
     metaverse/#:~:text=Here%27s%20everything%20you%20need%20to,as%20Meta%20on%2028%20October.
     (accessed February 2024); Scott Nover, Why Facebook Changed Its Name, Quartz (Oct. 29, 2021),
     https://qz.com/2081663/why-facebook-changed-its-name-to-meta (accessed February 2024).
     2
       Complaint (Dkt. No.1), ¶ 1.
     3
       Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. The Court subsequently dismissed Plaintiffs’
     fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (Dkt. No.111).

                                                                                            WhatsApp, et al. v. NSO, et al.
               Case 4:19-cv-07123-PJH               Document 679-7   Filed 04/04/25    Page 4 of 33

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                            Page 2


         II.    BASIS FOR ANALYSIS
4.   The analysis and opinions in this report are based on the information and documentation identified
     to date, my education, my experience in performing similar financial analyses and economic
     damage calculations, documents and testimony in the record, accepted damages methodologies
     and approaches, and applications of relevant case law.

5.   I am a Managing Director at Stout Risius Ross, LLC, an advisory firm that, among other services,
     provides business, economic, financial, and consulting services to clients in a variety of industries.
     I lead Stout’s national intellectual property disputes and valuations practice. I am a Certified Public
     Accountant and Certified in Financial Forensics. My education includes a Master in Business
     Administration from The Wharton School of the University of Pennsylvania and a Bachelor of
     Science degree in Accounting from Bucknell University. My curriculum vitae is attached as
     EXHIBIT A.

6.   In forming my opinions, I considered various documents produced by the parties and non-parties,
     deposition testimony, and certain legal documents from this case. Specifically, I considered the
     documents identified throughout this report and the accompanying exhibits. A list of the
     documents that I considered in forming my opinions is provided in EXHIBIT B. The documents
     and information used in my analysis and report are the types of documents and information upon
     which experts in my field typically rely when performing such an analysis. In addition to the
     documents produced by the parties, I considered relevant publicly available information of the
     type typically relied upon by experts in this field. I also spoke with the following individuals:

               Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                Team at Meta;4

               Michael Scott, Threat Investigator within the Espionage Team at Meta;

               Drew Robinson, Security Engineer at Meta;

               Aashin Guatam, Director of Product Management at WhatsApp;

               Otto Ebeling, former Security Engineer at Meta (UK);



     4
         Deposition of Cortney Padua, 13:120-121.

                                                                                  WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH             Document 679-7            Filed 04/04/25         Page 5 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 3


              Jesus Barcons Palau, Software Engineer at Meta;

              Claudiu Gheorghe, former Software Engineering Manager at Meta;

              YuanYuan Wang, Software Engineering Manager at Meta;

                            , Payroll Manager at Meta;

                              , Equity Programs Analyst within the Securities and Disclosure Equity
               Operations Group at Meta; and

                               , Director in Global Equity Programs at Meta.

7.    I understand that discovery is ongoing; therefore, this report is based on information available to
      date. As discussed in more detail in this report, Defendants have not produced the relevant
      information sought by Plaintiffs through discovery. Further, depositions of all of the parties’
      witnesses have yet to be completed as of the date of this report, including that of Sarit Bizinsky
      Gil, Defendants’ designated witness for financial, contract, and other relevant topics.

8.    Should additional information, testimony, or documents that affect my analysis or opinions
      become available after the issuance of my report, I reserve the right to supplement or update my
      analysis and/or opinions. Additionally, I reserve the right to supplement or update my report based
      on information, testimony, or documents that have become available within only a short period of
      time prior to the issuance of this report, as I have had insufficient time to analyze such new
      information.5

9.    I reserve the right to prepare supplemental materials such as summaries, graphical exhibits, or
      charts for trial, as well as to provide opinions and other materials in response to any additional
      expert opinions.

10.   This report is prepared in accordance with the American Institute of Certified Public Accountants
      (“AICPA”) Statement on Standards for Forensic Services. The work performed does not include
      the performance of an audit, review, or compilation of financial statements in accordance with


      5
        On August 26, 2024, four days before the deadline for this report, NSO produced a document
      (NSO_WHATSAPP_00045858) that appears to include revenue information for certain NSO products. Further, I
      understand that two of Defendants’ witnesses were deposed on August 27, 2024 (Ramon Eshkar) and August 29,
      2024 (Yaron Shohat). I have yet to have the opportunity to review these transcripts and incorporate any relevant
      information into my analysis.

                                                                                             WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH               Document 679-7             Filed 04/04/25         Page 6 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                        Page 4


      Generally Accepted Auditing Standards (“GAAS”) or with attest standards established by the
      AICPA.

11.   My firm is being compensated at a rate of $795 per hour for my time in this matter, regardless of
      the outcome of this litigation.

      III.     SUMMARY OF OPINIONS
12.   Assuming Defendants are found liable, it is my opinion that the Plaintiffs’ expenditure of
      resources for their response totals $444,719 and a reasonable estimation of Defendants’ profits
      earned in connection with the targeting of 1,500 devices through Defendants’ Exploit ranges from
      $4.3 million to $13.9 million (at a 29% operating profit margin) or $9.5 million to $30.3 million
      (at a 63% operating profit margin).

                                   Table 1: Summary of Plaintiffs’ Claimed Damages and
                                              Available Equitable Recoveries6
                          Category                                                  Amount
                          Plaintiffs’ Response Expenses                                      $444,719
                          Defendants’ Profits Subject to Disgorgement
                            At 29% Operating Profit Margin                 $4.3 million - $13.9 million
                            At 63% Operating Profit Margin                 $9.5 million - $30.3 million


13.   Plaintiffs’ response costs reflect labor expenditures related to internal efforts to identify, evaluate
      and remediate Defendants’ improper use of WhatsApp servers and targeting of select WhatsApp
      users.7 The estimate for Plaintiffs’ response expense is conservative, as the calculations only
      consider the low-end of employee estimates, exclude certain employees who worked on the
      response for whom I do not have estimated hours, and while employees expressed that they worked




      6
        EXHIBIT 1.1; EXHIBIT 1.2. I reserve the right to supplement or amend this report to account for damages to which
      Plaintiffs assert they are entitled for Defendants’ use of Plaintiffs’ computers beyond the 1,500 targeted devices
      discussed in this report. At this time, it is my understanding Defendants have provided insufficient information from
      which to calculate profits subject to disgorgement that are attributable to Defendants’ use of Plaintiffs’ computers
      beyond the 1,500 targeted devises discussed in this report. I understand Plaintiffs reserve any and all rights to seek
      damages relating to Defendants’ use of their servers, including the period during, before, and after 2019.
      7
        This report does not calculate or express an opinion on litigation or other legal costs to which Plaintiffs may be
      entitled and which Plaintiffs may seek to recover from Defendants. I am informed that Plaintiffs do not waive any
      rights with regard to seeking such costs or others from Defendants.

                                                                                               WhatsApp, et al. v. NSO, et al.
                Case 4:19-cv-07123-PJH             Document 679-7             Filed 04/04/25          Page 7 of 33

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 20


       security patches to stop NSO.95 On May 13, 2019, Plaintiffs publicly announced their discovery
       and remediation of the exploit.96

47.    As a result of Defendants’ alleged conduct, Plaintiffs assert the following causes of action against
       Defendants:97

                Violation of the Computer Fraud and Abuse Act (18 U.S.C. §1030);

                Violation of the California Comprehensive Computer Data Access and Fraud Act
                 (California Penal Code §502); and

                Breach of Contract in connection with WhatsApp terms.

      VIII.      QUANTIFICATION OF PLAINTIFFS’ CLAIMED DAMAGES AND AVAILABLE
                 REMEDIES
48.    I understand that Plaintiffs seek to recover damages in the form of their actual losses (i.e.,
       compensatory damages) and disgorgement of Defendants’ ill-gotten gains. In this instance, the ill-
       gotten gains reflect the profits that Defendants derived from their alleged conduct. I offer no
       opinion on whether either remedy is available on Plaintiffs’ causes of action, which I understand
       is a legal question. I have only been asked to calculate Plaintiffs’ actual losses and Defendants’ ill-
       gotten gains.

49.    As the determination of Plaintiffs’ actual losses considers labor cost expenditures, and Defendants’
       profits reflect those earned from the licensing of NSO’s spyware, it is my opinion that these two
       categories are not duplicative of one another, and therefore, may be additive.

50.    Accordingly, I quantify Plaintiffs’ actual damages in the form of the expenditure of resources to
       respond to and remediate Defendants’ conduct described in the Complaint and Defendants’ profits
       derived from targeting WhatsApp.



       95
          See e.g., WA-NSO-00018457-463.
       96
          WhatsApp Reveals Major Security Flaw That Could Let Hackers Access Phones, CBS News (May 14, 2019),
       https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-access-
       phones/ (accessed February 2024).
       97
          Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. Plaintiffs originally alleged that Defendants
       wrongfully trespassed on Plaintiffs’ property, in violation of California law. The Court subsequently dismissed
       Plaintiffs’ fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to
       Dismiss and Denying Motion to Stay Discover (Dkt. No.111).

                                                                                                 WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH              Document 679-7           Filed 04/04/25        Page 8 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                 Page 21


              A. PLAINTIFFS’ EXPENDITURE OF RESOURCES FOR RESPONSE

51.   I understand that on or around April 23, 2019, Plaintiffs began logging activity on servers in
      connection with a security review.98 On May 2, 2019, one of WhatsApp’s engineers discovered in
      that logging a malformed and potentially malicious message.99 Over the following days,
      WhatsApp and Meta engineers and others investigated the source of the malicious message and its
      impact on Plaintiffs’ systems.100 Between May 10, 2019 and May 13, 2019, Plaintiffs applied
      software patches to their relay servers and signaling servers and published a security patch for
      users’ WhatsApp client applications to successful resolve the exploit.101 On May 13, 2019,
      Plaintiffs publicly announced their discovery and remediation of the exploit.102 I understand that
      Plaintiffs continued to perform ongoing work related to the exploit after the security patch was
      implemented on May 13, 2019.103

52.   I understand that Plaintiffs’ employees investigated Defendants’ Exploit, determined its impact on
      Plaintiffs’ systems, developed and implemented the security patches to resolve the exploit, and
      performed ongoing work to fully understand the source of the attack, the methods used and full
      nature of the vulnerability, and the impact on WhatsApp users.104 As such, the cost incurred by
      Plaintiffs response to the exploit includes the labor cost associated with certain of Plaintiffs’
      employees involved in the investigation, remediation, and ongoing efforts surrounding
      Defendants’ alleged conduct, which occurred beginning on or around April 23, 2019, and
      continued through the latter part of 2019.

53.   In the following sections, I describe and quantify select labor hours and associated costs for this
      work.




      98
         See e.g., WA-NSO-00018457-463.
      99
         See WA-NSO-00017583-604 at 593. See also WA-NSO-00166464.
      100
          See WA-NSO-00017583-604 at 593-601. See also WA-NSO-00164559-566.
      101
          See WA-NSO-00017583-604 at 601-603.
      102
          https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-
      access-phones/ (accessed February 2024).
      103
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00164559-566.
      104
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00018457-463.

                                                                                          WhatsApp, et al. v. NSO, et al.
                Case 4:19-cv-07123-PJH          Document 679-7            Filed 04/04/25        Page 9 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                  Page 22


            1. Plaintiffs’ Employee Labor

54.   To determine Plaintiffs’ labor costs incurred in connection with investigating Defendants’ Exploit,
      determining its impact on Plaintiffs’ systems, developing and implementing the security patch to
      resolve it, and any associated ongoing work after implementing the security patch, I relied on
      information from discussions with the following individuals, who were involved with these efforts:

                Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                 Team at Meta;105

                Michael Scott, Threat Investigator within the Espionage Team at Meta;

                Drew Robinson, Security Engineer at Meta;

                Aashin Guatam, Director of Product Management at WhatsApp;

                Otto Ebeling, former Security Engineer at Meta (UK);

                Jesus Barcons Palau, Software Engineer at Meta;

                Claudiu Gheorghe, former Software Engineering Manager at Meta; and

                Yuan Yuan Wang, Software Engineering Manager at Meta.

55.   My discussions with each of these individuals include an overview of each of their then-in-effect
      positions and responsibilities, a description of the work they performed in connection with
      Defendants’ Exploit when they performed this work, and an estimation of the amount of time spent
      in connection with this work. I describe the information represented to me by these individuals in
      more detail in the following sections.

                        a. Cortney Padua106

56.   Cortney Padua is currently a Security Engineer on the Cross-Meta Security Detection and
      Response Team at Meta.107 At the time of Defendants’ Exploit, Ms. Padua was a Security Engineer
      on the Computer Emergency Response Team at Meta.




      105
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.
      106
          Discussion with Cortney Padua; Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 49-52, 60-61.
      107
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.

                                                                                           WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH            Document 679-7           Filed 04/04/25       Page 10 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                               Page 23


57.   Ms. Padua described her role in the process as including:108

               General coordination and support of the response team and strategizing remediation steps
                and timelines.109

               Reviewing WhatsApp logs to gather evidence of Defendants’ Exploit and determine
                population of targeted users.110

               Formatting data contained in these WhatsApp logs for further review and analysis by
                internal data teams.111

               Ongoing review of WhatsApp logs to monitor for potential ongoing exploitation of
                WhatsApp servers.112

               Assisting with eDiscovery preservation of WhatsApp logs obtained during the
                investigation and remediation.113

               Supporting reporting efforts, including drafting summaries and presentations of the subject
                incident.

58.   Ms. Padua estimates that she worked approximately the following number of hours during the
      noted periods on these tasks:

               May 2 through May 7, 2019 - 24 hours.

               May 8 through May 16, 2019 - 36 hours.

               May 20 through May 28, 2019 - 24 hours.

               Mid-June - 12 hours.

59.   Based on my discussion with Ms. Padua, she estimates that she worked a total of 96 hours in
      relation to Defendants’ Exploit. Using Ms. Padua’s estimates, 44 hours are allocated to the period
      May 2 through May 13,114 and 52 hours are allocated to the period after May 13.115




      108
          Discussion with Cortney Padua.
      109
          See also Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 60-61.
      110
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      111
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      112
          See also Deposition of Cortney Padua, August 20, 2024, p. 105.
      113
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52.
      114
          60 hours during the 11-workday period May 2 through May 16 = 5.5 hours per workday x 8 workdays between
      May 2 and May 13.
      115
          96 total hours less 44 hours between May 2 and May 13.

                                                                                        WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-7            Filed 04/04/25        Page 11 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                  Page 24


                       b. Michael Scott116

60.   Michael Scott is currently a Threat Investigator on the Espionage Team at Meta, which was also
      his title at the time of Defendants’ Exploit.

61.   Mr. Scott described his role as including:

               Analyzing data to assist in understanding the exploit and determining how it was
                conducted.

               Reviewing and analyzing WhatsApp logs to obtain information such as IP addresses and
                phone numbers that could help identify targeted WhatsApp users. The identification of
                targeted users also considered research of publicly available information and other profile
                information maintained by Meta (e.g., Facebook and Instagram profile information).

               Efforts related to determining the source of the exploit, including cross referencing current
                information from WhatsApp logs (e.g., IP addresses, domains, and phone numbers) with
                previously identified information for suspected “test accounts” used by attackers prior to
                the exploit, which included suspected accounts associated with NSO. Identifying the source
                of the exploit and related accounts to assist in disabling accounts and preventing those
                accounts from accessing WhatsApp.

               Attempting to map attackers with victims, including the determination of countries of
                origin for attacker accounts.

62.   Mr. Scott represented that in relation to Defendants’ Exploit, he spent nearly all his working time
      on these efforts over a 2 to 3-month period beginning in or around April/May 2019. Mr. Scott
      further stated that ongoing work continued for “months and months,” but did not provide an
      estimate of the portion of his time spent on these ongoing efforts. Using the low end of Mr. Scott’s
      estimate (i.e., 2 months), 64 hours are allocated to the period May 2 through May 13,117 and 256
      hours are allocated to the period after May 13118 in relation to Defendants’ Exploit.

                       c. Drew Robinson119

63.   Drew Robinson is currently a Security Engineer at Meta. At the time of Defendants’ Exploit, Mr.
      Robinson was a Security Investigator at Meta.


      116
          Discussion with Michael Scott.
      117
          8 hours per workday x 8 workdays between May 2 and May 13.
      118
          320 hours over a 2-month period (160 work hours in a month [40 hours per week x 4 weeks] x 2 months) less 64
      hours between May 2 and May 13.
      119
          Discussion with Drew Robinson.

                                                                                           WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH            Document 679-7           Filed 04/04/25   Page 12 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                             Page 25


64.   Mr. Robinson described his role as including:

                Serving as the “on call” for malware analysis and working with WhatsApp engineers to
                 immediately analyze WhatsApp logs to evaluate the “payload” used to deliver the malware
                 to victims.

                Performing various analyses of WhatsApp logs and server information to extract the
                 payloads that had been deployed to help identify the source of the payload (i.e., the
                 orchestrator of the attack).

                Assisting with identification of targeted WhatsApp users and map them back to the
                 malware users. This included analyzing country codes associated with targeted accounts
                 and the nature of the accounts (based in part on publicly available information and
                 Facebook and Instagram profile information).

                Assisting WhatsApp engineers in developing and deploying the security patch.

                Ongoing monitoring for future attacks/exploits and further analysis of ways that NSO was
                 targeting Plaintiffs’ services.

                Continued assistance with victim identification.

                Supporting Plaintiffs’ legal department and responding to requests for information.

65.   Mr. Robinson represented that he initially worked full time on the exploit for 3 weeks up to the
      deployment of the security patch, which he conservatively estimated to approximate 120 hours.
      Mr. Robinson estimated that he worked another 150-200 hours after the security patch was
      implemented. Using Mr. Robinson’s estimates, 64 hours are allocated to the period May 2 through
      May 13,120 and 150 hours are allocated to the period after May 13 in relation to Defendants’
      Exploit.

                         d. Aashin Guatam121

66.   Aashin Guatam is currently a Director of Product Management at WhatsApp. At the time of
      Defendants’ Exploit, Mr. Guatam was a Director of Customer Operations at WhatsApp.

67.   Mr. Guatam described his role as including:




      120
            8 hours per workday x 8 workdays between May 2 and May 13.
      121
            Discussion with Aashin Guatam.

                                                                                      WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH           Document 679-7       Filed 04/04/25      Page 13 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                           Page 26


                Overall project management of the plan implemented by Plaintiffs to resolve Defendants’
                 Exploit, including post-fix identification of and communication with targeted users,
                 external communication strategy, and legal pursuits.

                Working with and guiding technical teams, operations teams, legal teams, and others to
                 understand the attack and identify the victims of the exploit. This included identifying the
                 targeted accounts and mapping them to the real-life users. The accounts were mapped to
                 real-life users using information from WhatsApp accounts, associated social media
                 accounts, and other publicly available information.

                Developing a victim outreach strategy and working with technical teams, operations teams,
                 legal teams, and others to notify the identified victims of the exploit.

68.   Mr. Guatam represented to me that he spent, on average, 50% of his working hours from May/June
      to November 2019 working on this matter. As such, I have considered the low end of Mr. Guatam’s
      estimate (i.e., beginning in June) that he worked 480 hours (6 months [June through November]
      multiplied by 160 working hours per month multiplied by 50%). Using Mr. Guatam’s estimate, all
      480 hours are allocated to the period after May 13 in relation to Defendants’ Exploit.

                          e. Otto Ebeling122

69.   Otto Ebeling currently owns a cyber security consulting company that is sometimes contracted by
      Plaintiffs. At the time of responding to Defendants’ Exploit, Mr. Ebeling was a Security Engineer
      at Meta, based in the United Kingdom.

70.   Mr. Ebeling described his role as including:

                Investigating initial reports relayed to him from WhatsApp engineers to ascertain if a
                 vulnerability existed. This included determining whether the suspicious activity was
                 benign or malicious.

                Understanding Defendants’ Exploit and how it worked.

                Determining how to respond to and prevent Defendants’ Exploit. Mr. Ebeling consulted
                 with WhatsApp engineers that ultimately created and implemented the security patch.

                Monitoring applicable information to confirm the security patches were working as
                 intended after they were implemented by Plaintiffs’ employees.




      122
            Discussion with Otto Ebeling.

                                                                                    WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH                Document 679-7             Filed 04/04/25          Page 14 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 27


               Determining if Defendants were exploiting any other unknown vulnerabilities. This
                included reviewing and analyzing certain software code.

71.   Mr. Ebeling represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours for 3 weeks on this project. Mr. Ebeling also informed me
      that he spent one-third (33%) to one-half (50%) of his working time for the second half of 2019
      working on ongoing matters associated with Defendants’ Exploit. Using Mr. Ebeling’s estimates,
      64 hours are allocated to the period May 2 through May 13,123 and 320 hours124 are allocated to
      the period after May 13 in relation to Defendants’ Exploit.

                        f. Jesus Barcons Palau125

72.   Jesus Barcons Palau is currently a Software Engineer at Meta, which was also his title at the time
      of Defendants’ Exploit in May 2019.

73.   Mr. Palau described his role as including:

               Consulting with security professionals to investigate abnormal “stanzas”126 in data passing
                through WhatsApp servers. This included identifying and investigating stanzas that did not
                conform with specifications established by WhatsApp. After certain abnormal stanzas were
                identified, Mr. Palau worked to implement processes to detect other non-conforming and
                potentially malicious stanzas in data.

               Implementing code to detect malicious stanzas not adhering to WhatsApp specifications.

               Implementing measures to assure that invalid stanzas were blocked from WhatsApp
                servers.

74.   Mr. Palau informed me that during the initial response efforts, he spent all his working time, and
      additional overtime hours, on this project. Mr. Palau represented to me that he spent more than
      100% of his working hours from April 29 through May 10 on response efforts. Using Mr. Palau’s
      estimates, 56 hours are allocated to the period May 2 through May 10127 in relation to Defendants’
      Exploit.



      123
          8 hours per workday x 8 workdays between May 2 and May 13.
      124
          6 months multiplied by 160 working hours in a month multiplied by 1/3 of his working time.
      125
          Discussion with Jesus Palau.
      126
          Stanza is “a general term in WhatsApp for metadata -- for a type of metadata that is sent from a client to a
      server.” Claudiu Gheorghe Deposition, 24:19-24.
      127
          8 hours per workday x 7 workdays between May 2 and May 10.

                                                                                                WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-7            Filed 04/04/25   Page 15 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                             Page 28


                       g. Claudiu Gheorghe128

75.   Claudiu Gheorghe was a Software Engineering Manager at Meta at the time of Defendants’ Exploit
      in May 2019.

76.   Mr. Gheorghe described his role as including:

               Coordinating the investigation and remediation of Defendants’ Exploit. Mr. Gheorghe
                orchestrated efforts among engineering teams, security teams, and legal teams.

               Supervising Meta engineers to execute the investigation and remediation of Defendants’
                Exploit. This included effectively allocating staffing resources to execute this project. Mr.
                Gheorghe performed a managerial role in connection with leading coordination for the
                investigation and remediation of Defendants’ Exploit.

               Identifying victims of Defendants’ Exploit.

               Assisting in drafting a white paper regarding Defendants’ Exploit.

77.   Mr. Gheorghe represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      After the patch was implemented on May 13, 2019, Mr. Gheorghe informed me that he spent 50%
      of his time on this project for two more weeks. Using Mr. Gheorghe’s estimates, 64 hours are
      allocated to the period May 2 through May 13,129 and 40 hours are allocated to the period after
      May 13130 in relation to Defendants’ Exploit.

                       h. YuanYuan Wang131

78.   YuanYuan Wang is currently a Software Engineering Manager at Meta, which was also his title at
      the time of Defendants’ Exploit in May 2019.

79.   Mr. Wang described his role as including:

               Confirming that the exploit was occurring. This included identifying abnormal patterns
                through his knowledge of the WhatsApp architecture.




      128
          Discussion with Claudiu Gheorghe.
      129
          8 hours per workday x 8 workdays between May 2 and May 13.
      130
          80 hours over a 2-week period (2 weeks x 40 hours per week) x 50%.
      131
          Discussion with YuanYuan Wang.

                                                                                      WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH            Document 679-7           Filed 04/04/25   Page 16 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                           Page 29


               Organizing and providing applicable information regarding Defendants’ Exploit to security
                teams at Meta.

               Consulting with security teams at Meta to identify the software code permitting
                Defendants’ Exploit.

               Understanding the software code relevant to Defendants’ Exploit.

               Consulting with security teams at Meta to improve and secure the applicable software code.
                This fixed the software code permitting Defendants’ Exploit.

80.   Mr. Wang represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      Using Mr. Wang’s estimate, 64 hours are allocated to the period May 2 through May 13132in
      relation to Defendants’ Exploit.

                       i. Other Employees Identified by Claudiu Gheorghe133

81.   In addition to the discussions I had with the above-noted individuals, Claudiu Gheorghe identified
      14 other Meta professionals that participated in the investigation and response efforts.134 As
      discussed, Mr. Gheorghe was a Software Engineering Manager at Meta who performed a
      managerial role leading coordination across multiple teams in connection with addressing
      Defendants’ Exploit in May 2019.

82.   Mr. Gheorghe provided descriptions of roles and estimates of hours worked for each of the Meta
      employees he identified as participating in the investigation and response efforts from May 2, 2019
      through May 13, 2019. This is reflected in EXHIBIT 2.2 to my report.

            2. Plaintiffs’ Employee Labor Cost

83.   After identifying the employees involved in responding to Defendants’ Exploit, and their
      respective estimated labor hours, I determined the cost of this labor. To determine the cost of labor
      of each applicable employee, I multiplied each applicable employee’s burdened labor rate by the
      number of hours worked on responding to Defendants’ Exploit.




      132
          8 hours per workday x 8 workdays between May 2 and May 13.
      133
          Discussion with Claudiu Gheorghe.
      134
          EXHIBIT 2.2.

                                                                                    WhatsApp, et al. v. NSO, et al.
          Case 4:19-cv-07123-PJH          Document 679-7        Filed 04/04/25         Page 17 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                       Page 30


84.   The calculation of an employee’s burdened labor rate not only considers the employee’s salary,
      but also considers other expenditures paid by an employer to, or on behalf of, an employee. These
      additional expenditures can be paid directly to an employee (e.g., performance bonus or retirement
      contributions) or paid on behalf of an employee (e.g., the employer’s share of healthcare insurance
      premiums or payroll taxes). In addition to base salary, the inclusion of an employer’s additional
      expenditures to, or on behalf of, an employee reflects the employer’s total economic cost incurred
      in connection with the subject employee’s time.

85.   To calculate each employee’s burdened labor rate, I relied on data provided by Plaintiffs detailing
      payroll information for specific employees which included wages, employee and employer payroll
      taxes, and certain employer-paid benefits. I also obtained employee bonus information and the
      amount of employer-paid health benefits. For purposes of determining a compensation rate for
      individual employees, I considered the following costs incurred by Plaintiffs:

            Salary

            Performance bonus

            Employer payroll taxes

            Employer portion of health benefits

            Restricted Stock Unit (“RSU”) grants

86.   As detailed in EXHIBIT 3.1, I considered the above amounts and determined an hourly-equivalent
      compensation rate for each of the individuals discussed in the preceding section. I determined
      Plaintiffs’ relevant expenditures by multiplying each applicable employee’s hours spent on
      resolving Defendants’ Exploit and for related ongoing work by their burdened labor rate. As
      summarized in the following table, Plaintiffs’ expenditures to respond to Defendants’ Exploit total
      $444,719.




                                                                                WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH             Document 679-7          Filed 04/04/25       Page 18 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                 Page 31

                        Table 3: Plaintiffs’ Labor Expenses to Respond to Defendants’ Exploit 135
                                                                    Hours
            Employee Name                 2019 Title               Worked       Hourly Rate       Cost of Labor
            Cortney Padua          Security Engineer                          96         $112.51             $10,801
            Michael Scott          Threat Investigator                       320         $194.28             $62,169
            Drew Robinson          Security Investigator                     214         $107.64             $23,035
            Aashin Guatam          Director of Customer Ops.                 480         $195.38             $93,785
            Otto Ebeling           Security Engineer                         384         $149.86             $57,545
            Jesus Palau            Software Engineer                          56         $249.03             $13,946
            Claudiu Gheorghe       Software Engineering Manager              104         $404.25             $42,042
            YuanYuan Wang          Software Engineering Manager               64         $561.38             $35,928
                                                                                    Cost of Labor          $339,250
                                 Cost of Labor (Additional Employees Identified by Mr. Gheorghe)           $105,469
                                                                             Total Cost of Labor           $444,719

87.   The estimate included in Table 3 is conservative, as the calculations only consider the low-end of
      employee estimates, exclude certain employees who worked on the response for whom I do not
      have estimated hours, and while employees expressed that they worked extended hours and
      weekends, I do not include such extended hours and weekends in my calculations.

88.   While these individuals were salaried employees and were not paid on an hourly basis, the hourly
      equivalent labor rate provides a means to determine the cost of their respective time to Plaintiffs
      with respect to responding to Defendants’ Exploit. While some of these individuals perform
      security-related tasks in the ordinary course of their employment by Plaintiffs, they would have
      directed this time to other efforts in the absence of Defendants’ alleged conduct. Accordingly,
      these efforts and associated cost are reflective of an “opportunity cost” to Plaintiffs. Further, as
      this was a required effort in light of Defendants’ Exploit, in the absence of these employees,
      Plaintiffs would have needed to expend resources to obtain these types of services from third
      parties.

                 B. DEFENDANTS’ ILL-GOTTEN GAINS SUBJECT TO DISGORGEMENT

89.   In this instance, Defendants’ ill-gotten gains subject to disgorgement reflect the profit that
      Defendants derived from their unauthorized access to Plaintiffs’ systems, including the use of
      Defendants’ Exploit. I understand that Plaintiffs allege that Defendants’ Exploit for the WhatsApp
      Service was the Android zero-click installation vector for Pegasus or similar spyware in use from


      135
            EXHIBITS 1.1, 2.1, AND 2.2.

                                                                                          WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH               Document 679-7            Filed 04/04/25         Page 19 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                    Page 32


      at least January 1, 2018 through May 13, 2019, and that both Defendants’ development and sale
      of that exploit violated its Terms of Service and federal and state law. Accordingly, I estimate
      Defendants’ ill-gotten gains resulting from the development and licensing of Pegasus with the
      Android zero-click feature, and any other spyware targeting Plaintiffs’ systems based on the
      information available to date.

90.   As discussed in further detail, Plaintiffs assert that Defendants have not produced all relevant
      information, and depositions of Defendants’ witnesses have only recently occurred136 or are
      scheduled to occur after the date of this report. Accordingly, I reserve the right to update my
      analysis based on such information.

91.   Specifically, I understand that Plaintiffs requested from Defendants the information to evaluate
      Defendants’ ill-gotten gains from targeting Plaintiffs’ systems. As of the date of this report, I
      understand that Defendants have not produced certain financial information, other than the
      materials cited in this report (and in Exhibit B to this report), relevant to an assessment of
      Defendants’ ill-gotten gains.

92.   Given the absence of certain information requested from Defendants, my assessment of
      Defendants’ profits recognized in conjunction with the alleged conduct relies on the documents
      produced to date and reasonable assumptions regarding certain information contained in those
      documents. Additional documents produced by Defendants (or other parties) and future deposition
      testimony may impact my analysis, assumptions, and conclusions.

93.   The following sections address my determination of Defendants’ ill-gotten gains subject to
      disgorgement based on the information reasonably available to me to date.

            1. Total Reported Revenue from the Sale and License of the Pegasus Product

94.   As an initial matter, I consider the reported revenues for Pegasus contained in certain financial
      information produced to date. In 2018, Pegasus generated approximately $183 million in




      136
         Given the timing of Defendants’ depositions, I have not fully evaluated the testimony or its impact on my
      analysis.

                                                                                             WhatsApp, et al. v. NSO, et al.
               Case 4:19-cv-07123-PJH          Document 679-7          Filed 04/04/25      Page 20 of 33

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                             Page 45

                                        Table 8: Profit from Defendants’ Exploit188
                                                                                              Op. Profit
                                                           $ Fee/
        Category                                Devices    Device       Revenue         29%              63%
        Basic Only                                1,500   $120,000    $180,000,000    $52,172,447     $113,548,740
        Basic and Additional Concurrent           1,500    $32,000     $48,000,000    $13,912,652      $30,279,664
         Targets
          (Excl. Add’l Concurrent Targets
          Only)
        Additional Concurrent Targets             1,500     $10,000    $15,000,000     $4,347,704       $9,462,395
          Only

123.   As noted previously, the consideration of per-device fees that take into account the lower prices of
       “additional concurrent targets” is a more conservative approach to reflect the nature of concurrent
       licenses and the reduction of the per-device fee as more devices are targeted. Accordingly, based
       on the information contained in Table 8, a reasonable estimation of Defendants’ profits earned in
       connection with the targeting of 1,500 devices through Defendants’ Exploit ranges from $4.3
       million to $13.9 million (at a 29% operating profit margin) or $9.5 million to $30.3 million (at a
       63% operating profit margin).

                 C. DEFENDANTS’ USE OF PLAINTIFFS’ SYSTEMS

124.   Counsel for Plaintiffs asked me to determine whether the use of Plaintiffs’ systems for purposes
       of Defendants’ Exploit was worth more than $5,000 in one year to Defendants or their customers.
       To do so, I consider the customer revenue amounts related to the covert-Android version of
       Pegasus as a reasonable proxy to quantify this amount, based on the limited information produced
       by Defendants to date.

125.   I first consider that, in a March 2019 “Q&A” document, the Defendants state, “Pricing depends on
       the product, number of capabilities and number of licenses. On average for the mobile endpoint
       products, prices range mainly between $1m and $10m per license, i.e., target/endpoint.”189 Also
       of note, this range is the amount for one license, and Defendants benefit by being able to have
       multiple licensees to its software, including Pegasus, resulting in a multiplier effect of licensing
       revenues to Defendants.




       188
             EXHIBITS 4 AND 4.1.
       189
             WA-NSO-00074412-414 at 413-414.

                                                                                       WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH                Document 679-7               Filed 04/04/25         Page 21 of 33

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                        Page 46


126.   I next consider that the Defendants produced a document which appears to identify customer
       revenue amounts. Analysis of this document appears to enable the identification of revenue related
       to the covert-Android version of Pegasus, specifically, the upsell data contained therein.190 Table
       9 summarizes the annual revenue from three upsell transactions for the covert-Android Pegasus
       product.

                                    TABLE 9: “COVERT ANDROID”- ONLY “UPSELL” LINE ITEMS
                                      ANNUAL REVENUES BASED ON FIRST FOUR QUARTERS191
                                                                                     Annual
                                                                                    First Year
                              Account No.      Start Qtr.       End Qtr.             Revenue
                              Acc-04              Q3 2018                Q2 2019             $6,835,000
                              Acc-06192           Q1 2019                Q4 2019              1,412,000
                              Acc-57              Q3 2018                Q2 2019              5,630,000


                              Total                                                         $13,877,000

127.   From this data, it is my opinion that the use of Plaintiffs’ systems for purposes of Defendants’
       Exploit was worth $13,877,00 for these three accounts193 alone, which exceeds $5,000 in one year.

                                                   *      *    *     *      *      *




       190
           See NSO_WHATSAPP_00045858.
       191
           NSO_WHATSAPP_00045858.
       192
           Only considering “No” responses for other capabilities (i.e., excluding “(blanks)”) results in this line item being
       the only “Covert Android”-Only “Upsell” Line Item.
       193
           Based solely on “Upsell” transactions of “Covert-Android.”

                                                                                                  WhatsApp, et al. v. NSO, et al.
           Case 4:19-cv-07123-PJH            Document 679-7         Filed 04/04/25       Page 22 of 33

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                          Page 47


128.   The procedures performed were limited to those described herein based on the documents provided
       to date and other information obtained. Information obtained after the date of this report, or within
       a short period of time prior to its issuance, may affect this analysis and this effect may be material.
       If requested, I will update my analysis.

129.   My procedures were performed solely with respect to the above referenced litigation. This report
       is not to be reproduced, distributed, disclosed, or used for any other purpose.

       STOUT




       _____________________
       Dana M. Trexler, CPA/CFF                                                   August 30, 2024




                                                                                    WhatsApp, et al. v. NSO, et al.
Case 4:19-cv-07123-PJH   Document 679-7   Filed 04/04/25   Page 23 of 33




               EXHIBIT C
    to Declaration of Dana Trexler in Support of
  Plaintiffs’ Opposition to Defendants’ Motion for
 Summary Judgment or Partial Summary Judgment
     Case 4:19-cv-07123-PJH    Document 679-7         Filed 04/04/25   Page 24 of 33




                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA




                                           )
                                           )
WHATSAPP INC. and                          )
META PLATFORMS, INC.,                      )
                                           )
                       Plaintiffs,         )
                                           )
                                           )       Case No. 19-cv-07123-PJH
v.                                         )
                                           )
                                           )
NSO GROUP TECHNOLOGIES                     )
LIMITED and Q CYBER                        )
TECHNOLOGIES LIMITED,                      )

                     Defendants.




        SUPPLEMENTAL EXPERT REPORT OF DANA TREXLER, CPA/CFF

                                     September 21, 2024

              HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
               Case 4:19-cv-07123-PJH           Document 679-7            Filed 04/04/25         Page 25 of 33

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 1


          I.     INTRODUCTION
1.   On October 29, 2019, WhatsApp Inc. (“WhatsApp”) and Meta Platforms, Inc. (“Meta”)1
     (collectively, “Plaintiffs”) filed a complaint against NSO Group Technologies Limited (“NSO”)
     and Q Cyber Technologies Limited (“Q Cyber”) (collectively, “Defendants”) alleging that
     Defendants used WhatsApp servers to send malware to mobile phones and devices for the purpose
     of extracting data from other WhatsApp users’ target devices and conducting surveillance on those
     users.2 As a result of Defendants’ alleged conduct, Plaintiffs assert that Defendants violated the
     Computer Fraud and Abuse Act (in violation of 18 U.S.C. § 1030) and the California
     Comprehensive Computer Data Access and Fraud Act (in violation of California Penal Code §
     502), and breached the terms of service with WhatsApp to which Defendants became bound upon
     their creation of WhatsApp accounts.3

2.   On August 30, 2024, I submitted an expert report in this matter (“Initial Report”). I have been
     asked by Counsel to supplement my Initial Report based on information that became available
     after the issuance of my Initial Report, including testimony from the September 6, 2024 deposition
     of Sarit Bizinsky Gil (“Gil Deposition”). This report supplements, and should be read in
     conjunction with, the Initial Report. The Initial Report is incorporated herein by reference.

         II.     BASIS FOR ANALYSIS
3.   The basis for my analysis and opinions in this report are the same as those stated in the Initial
     Report.4 In addition to the information considered in the Initial Report (as identified in EXHIBIT B
     thereto), I also consider additional information since the date of that report, as identified in
     SUPPLEMENTAL EXHIBIT B.




     1
       Facebook Inc. changed its name to Meta Platforms Inc. in October 2021. See Chris Stokel-Walker, Why Facebook
     Changed Its Name to Meta and What is the Metaverse?, NewScientist (Oct. 21, 2021),
     https://www.newscientist.com/article/2295438-why-has-facebook-changed-its-name-to-meta-and-what-is-the-
     metaverse/#:~:text=Here%27s%20everything%20you%20need%20to,as%20Meta%20on%2028%20October.
     (accessed February 2024); Scott Nover, Why Facebook Changed Its Name, Quartz (Oct. 29, 2021),
     https://qz.com/2081663/why-facebook-changed-its-name-to-meta (accessed February 2024).
     2
       Complaint (Dkt. No.1), ¶ 1.
     3
       Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. The Court subsequently dismissed Plaintiffs’
     fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (Dkt. No.111).
     4
       My curriculum vitae has not changed since my Initial Report, which is attached as EXHIBIT A thereto.

                                                                                            WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH                Document 679-7              Filed 04/04/25          Page 26 of 33

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                           Page 2


4.   Should additional information, testimony, or documents that affect my analysis or opinions
     become available after the issuance of this report, I reserve the right to supplement or update my
     analysis and/or opinions. I reserve the right to prepare supplemental materials such as summaries,
     graphical exhibits, or charts for trial, as well as to provide opinions and other materials in response
     to any additional expert opinions.

     III.     SUMMARY OF OPINIONS
5.   Assuming Defendants are found liable, it is my opinion that a conservative estimate of the
     Plaintiffs’ expenditure of resources for their response totals $444,719.5 My opinion and the
     accompanying methodology I used to calculate this figure are discussed in my Initial Report.

6.   Based on the limited information available to me at the time of my Initial Report, I set forth that a
     reasonable estimation of Defendants’ profits earned specifically in connection with the targeting
     of the 1,500 devices through Defendants’ Exploit6 ranges from $4.3 million to $13.9 million (at a
     29% operating profit margin) or $9.5 million to $30.3 million (at a 63% operating profit margin).7
     Given that Defendants produced NSO_WHATSAPP_ 00045858 (“Defendants’ Spreadsheet”) and
     Ms. Sarit Bizinsky Gil has now testified (as Defendants’ corporate representative) that this
     document contains the revenue amounts for customer contracts which include at least the Covert
     Android vector, it is my opinion that Defendants’ Spreadsheet, and the related testimony, provides
     a more detailed basis upon which to calculate Defendants’ profits, than the limited information
     available to me at the date of the Initial Report.8,9

7.   Based on adjustments I made to Defendants’ Spreadsheet, as discussed herein, it is my opinion
     that a reasonable estimation of Defendants’ profits earned in connection with Defendants’ Exploit
     ranges between at least $21.3 million to $40.2 million, which includes adjustments for the profit



     5
       Initial Report, ¶ 12.
     6
       The use of “Defendants’ Exploit” herein is consistent with the use of this term in the Initial Report. See e.g., Initial
     Report, ¶¶ 44-45.
     7
       Initial Report, ¶ 12.
     8
       I understand that during the period generally covered by Defendants’ Spreadsheet (Q2 2018 through Q2 2020),
     Defendants did not have zero-click/covert installation vectors for Android other than those that were activated
     through WhatsApp. See e.g., Deposition of Tamir Gazneli, September 4, 2024, pp. 39, 67-68, and 103.
     9
       As noted throughout this report, there is additional information that Defendants have not yet produced, which
     would be useful for the calculation of Defendants’ profits; therefore, I reserve the right to update the opinions and
     analyses expressed herein, if asked, if additional information is received.

                                                                                                 WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH             Document 679-7           Filed 04/04/25          Page 27 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 3


      margins and reductions to revenue made by Defendants for time (i.e., availability of the Covert
      Android vector) and maintenance.10 Given the lack of information provided by Defendants to
      assess the value of the Covert Android vector relative to other vectors (Triggered Android,
      Triggered iOS, and Covert iOS), Defendants’ subject revenues and profits could exceed even these
      revised amounts calculated herein.

8.    My opinions are summarized in the table below.

                                     Table 1: Summary of Plaintiffs’ Claimed Damages and
                                                Available Equitable Recoveries11
           Category                                                                                  Amount
           Plaintiffs’ Response Expenses                                                                         $444,719


           Defendants’ Profits Subject to Disgorgement – Defendants’ Spreadsheet Approach
            Adjusted Profit Margin                                                           $5.5 million - $10.5 million
            Adjusted Profit Margin; Adjusted Revenue for Time                               $17.3 million - $32.6 million
            Adjusted Profit Margin; Adjusted Revenue for Time and Maintenance               $21.3 million - $40.2 million

9.    I understand that there are certain legal arguments advanced by counsel for the Plaintiffs, wherein
      the Plaintiffs posit that certain costs may not be deductible from Defendants’ revenues generated
      by Defendants’ Exploit, because those costs and related activities themselves involved conduct
      that is the subject of Plaintiff’s claims. To the extent the fact finder needs to identify the revenues
      or certain expenses attributed to Defendants’ Exploit, this information can be found in
      SUPPLEMENTAL EXHIBITS 1, 2, AND 3 and INITIAL REPORT EXHIBITS 4, 5.1, AND 5.1.1.

10.   Counsel for Plaintiffs also asked me to determine whether the use of Plaintiffs’ systems for
      purposes of Defendants’ Exploit was worth more than $5,000 in one year to NSO or its customers.
      It is my opinion that the use of Plaintiffs’ systems for purposes of Defendants’ Exploit was worth
      $13,877,000 for three accounts alone,12,13 which exceeds $5,000 in one year. My opinion and the
      accompanying methodology I used to calculate this figure is discussed in my Initial Report.




      10
         SUPPLEMENTAL EXHIBIT 1.
      11
         See my Initial Report, Table 1; SUPPLEMENTAL EXHIBITS 1, 2, AND 3.
      12
         Based solely on “Upsell” transactions of “Covert-Android.”
      13
         Initial Report, ¶¶ 126-127.

                                                                                              WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH              Document 679-7             Filed 04/04/25        Page 28 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                     Page 4


      IV.     SUPPLEMENTAL ANALYSES AND OPINIONS
11.   On September 6, 2024, after my Initial Report was served, Sarit Bizinsky Gil, Vice President of
      Global Business Operations at Q Cyber, was deposed.14 Ms. Bizinsky Gil testified regarding an
      Excel    spreadsheet      produced      by    Defendants       and    prepared     by    Ms.      Bizinsky       Gil
      (NSO_WHATSAPP_00045858),15 which purports to set forth Pegasus (and other products)
      contract revenues and purported profits during the period Q2 2018 through Q2 2020 (“Defendants’
      Spreadsheet”). Besides quarterly revenue amounts, other information includes a revenue
      classification (e.g., upsell, maintenance), Defendants’ own allocation of revenue to Defendants’
      Exploit, and a calculation of purported profits on the allocated revenues.

12.   It is my understanding that Defendants’ Spreadsheet was prepared specifically for this litigation,
      based in part on instructions from counsel, and is not a document prepared or maintained in the
      ordinary course of Defendants’ business.16 Ms. Bizinsky Gil testified to the meaning of the
      information contained within the columns and rows of Defendants’ Spreadsheet and provided an
      overview of the methodology employed by Defendants in preparing Defendants’ Spreadsheet and
      their assessment of the revenue and profit amounts attributable to Defendants’ Exploit reflected in
      it. Defendants have not produced any of the contracts or other underlying information on which
      Defendants’ Spreadsheet is based.

13.   Even assuming the revenue and contract information reported in Defendants’ Spreadsheet is
      accurate, based on my analysis of Defendants’ Spreadsheet, Ms. Bizinsky Gil’s testimony, and
      other materials produced by Defendants, as well as my experience and training, I believe the
      calculations of revenues and profits earned through Defendants’ Exploit that appear in Defendants’
      Spreadsheet require adjustment for the reasons I explain in the remainder of this section.17




      14
         Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 12, 16.
      15
         Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 158.
      16
         Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 158-160.
      17
         E.g., Ms. Bizinsky Gil testified that she used a spreadsheet from Defendants’ finance department with customer
      contract information (Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 161-162), customer deal information
      from the CRM system (Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 166), and customer contracts
      (Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 187).

                                                                                            WhatsApp, et al. v. NSO, et al.
           Case 4:19-cv-07123-PJH           Document 679-7          Filed 04/04/25      Page 29 of 33

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                          Page 17


      Spreadsheet to not limit revenues to only the days when the Covert Android vector was allegedly
      operational, and adjusting revenue to include all maintenance revenues results in calculated profits
      of $21.3 million (using operating profit margin) and $40.2 million (using operating profit margin
      excluding research and development expenses),94 compared to the $72,000 calculated by
      Defendants.95 It is my opinion that all of these adjustments are reasonable and appropriate for the
      reasons explained above.       Accordingly, it is my opinion that a reasonable estimation of
      Defendants’ profits earned in connection with Defendants’ Exploit ranges between at least $21.3
      million to $40.2 million.

48.   Adjusted Revenue for Time and Maintenance: Adjusting revenue presented in Defendants’
      Spreadsheet to not limit revenues to only the days when the Covert Android vector was allegedly
      operational, and to include all maintenance revenues, results in calculated revenues of $61.7
      million (this amount is not reduced by expenses).96 This adjusted revenue amount is compared to
      the approximately $16.1 million of revenue estimated by Defendants.97

                                            *    *    *   *     *    *
49.   The procedures performed were limited to those described herein based on the documents provided
      to date and other information obtained. Information obtained after the date of this report, or within
      a short period of time prior to its issuance, may affect this analysis and this effect may be material.
      If requested, I will update my analysis.

50.   My procedures were performed solely with respect to the above referenced litigation. This report
      is not to be reproduced, distributed, disclosed, or used for any other purpose.

      STOUT



      _____________________

      Dana M. Trexler, CPA/CFF                                                   September 21, 2024



      94
         SUPPLEMENTAL EXHIBIT 1.
      95
         See NSO_WHATSAPP_00045858.
      96
         SUPPLEMENTAL EXHIBIT 1.
      97
         See NSO_WHATSAPP_00045858.

                                                                                   WhatsApp, et al. v. NSO, et al.
Case 4:19-cv-07123-PJH   Document 679-7   Filed 04/04/25   Page 30 of 33




                                                  Supplemental Exhibit 1
                          Case 4:19-cv-07123-PJH                       Document 679-7              Filed 04/04/25               Page 31 of 33


    WhatsApp, et al. v. NSO Group, et al.
    Profits Subject to Disgorgement Based on Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
    Supplemental Exhibit 1



                                                                                                                                      Q2 2018 -
                                                                       Q2 - Q4 2018         2019               Q1 - Q2 2020           Q2 2020

  Presented Pegasus "Final Relevant Revenue" Excluding Time
1
  and Maintenance Adjustments                               [1] $          19,439,947 $     31,055,220 $           11,213,759     $     61,708,926
2 NSO Group Technologies Ltd. Operating Margin              [2]                 44.0%            29.0%                  33.5%                34.5%

3 Profits Subject to Disgorgement                                  $        8,552,765   $    9,001,260     $        3,760,462     $     21,314,487



                                                                                                                                      Q2 2018 -
                                                                       Q2 - Q4 2018         2019               Q1 - Q2 2020           Q2 2020

    Presented Pegasus "Final Relevant Revenue" Excluding Time
4
    and Maintenance Adjustments                               [1] $        19,439,947   $   31,055,220     $       11,213,759     $     61,708,926
  NSO Group Technologies Ltd. Operating Margin
5
  (Excluding R&D Expenses)                                   [3]                67.9%              63.1%                66.4%                65.2%

6 Profits Subject to Disgorgement                                  $       13,207,238   $   19,590,451     $        7,446,204     $     40,243,892



[1] Supplemental Exhibit 1.1.
[2] See my Initial Report, Exhibit 5.1.
[3] See my Initial Report, Exhibit 5.1.1.




                                                                                                                                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
Case 4:19-cv-07123-PJH                        Document 679-7                   Filed 04/04/25                  Page 32 of 33


   WhatsApp, et al. v. NSO Group, et al.
   Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
   Supplemental Exhibit 1.1



                                                                                                                   Q2 2018 -
   Account No.                                         Q2 - Q4 2018         2019              Q1 - Q2 2020         Q2 2020

1 Acc-01                                           $                -   $            -    $               -    $              -
2 Acc-02                                           $                -   $            -    $               -    $              -
3 Acc-03                                           $          933,500   $    1,402,390    $         660,831    $      2,996,721
4 Acc-04                                           $        6,069,231   $    2,410,849    $         763,671    $      9,243,751
5 Acc-05                                           $                -   $      604,000    $         633,306    $      1,237,306
6 Acc-06                                           $                -   $    1,412,348    $         180,620    $      1,592,969
7 Acc-07                                           $                -   $            -    $         807,022    $        807,022
8 Acc-08                                           $                -   $            -    $               -    $              -
9 Acc-09                                           $                -   $            -    $               -    $              -
10 Acc-10                                          $          455,792   $    1,055,518    $         545,751    $      2,057,060
11 Acc-12                                          $                -   $            -    $               -    $              -
12 Acc-13                                          $           54,963   $       69,431    $          35,709    $        160,102
13 Acc-14                                          $                -   $       60,706    $          37,238    $         97,944
14 Acc-16                                          $                -   $      693,527    $          87,913    $        781,440
15 Acc-18                                          $                -   $      945,151    $          54,849    $      1,000,000
16 Acc-19                                          $                -   $            -    $               -    $              -
17 Acc-20                                          $                -   $            -    $               -    $              -
18 Acc-21                                          $          990,725   $    1,256,314    $         654,452    $      2,901,491
19 Acc-22                                          $                -   $            -    $               -    $              -
20 Acc-23                                          $                -   $    1,570,849    $         189,981    $      1,760,831
21 Acc-24                                          $                -   $            -    $               -    $              -
22 Acc-25                                          $                -   $            -    $               -    $              -
23 Acc-26                                          $          779,683   $      188,844    $          74,452    $      1,042,979
24 Acc-27                                          $                -   $      917,783    $         105,149    $      1,022,932
25 Acc-29                                          $                -   $    1,593,128    $         212,159    $      1,805,287
26 Acc-31                                          $          169,166   $      200,592    $         100,830    $        470,588
27 Acc-32                                          $                -   $    1,446,189    $         296,739    $      1,742,928
28 Acc-33                                          $          694,000   $      567,096    $         431,750    $      1,692,846
29 Acc-34                                          $          211,916   $       21,577    $               -    $        233,493
30 Acc-37                                          $                -   $            -    $               -    $              -
31 Acc-38                                          $                -   $            -    $               -    $              -
32 Acc-39                                          $                -   $      479,698    $          38,702    $        518,400
33 Acc-40                                          $          442,500   $      180,096    $         176,168    $        798,764
34 Acc-41                                          $                -   $            -    $               -    $              -
35 Acc-43                                          $                -   $            -    $               -    $              -
36 Acc-44                                          $           96,250   $      368,959    $         185,959    $        651,167
37 Acc-45                                          $          914,805   $      378,237    $         160,112    $      1,453,155
38 Acc-46                                          $          791,169   $      214,157    $          98,598    $      1,103,924
39 Acc-47                                          $          129,736   $      (15,909)   $               -    $        113,828
40 Acc-48                                          $          574,075   $    1,182,686    $         745,545    $      2,502,306
41 Acc-49                                          $          343,289   $      (42,096)   $               -    $        301,193
42 Acc-50                                          $                -   $            -    $               -    $              -
43 Acc-51                                          $                -   $            -    $               -    $              -




                                                               1 of 2                                                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
Case 4:19-cv-07123-PJH                             Document 679-7                       Filed 04/04/25                   Page 33 of 33


   WhatsApp, et al. v. NSO Group, et al.
   Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
   Supplemental Exhibit 1.1



                                                                                                                             Q2 2018 -
   Account No.                                               Q2 - Q4 2018           2019              Q1 - Q2 2020           Q2 2020

44 Acc-53                                                $                -   $               -   $                -     $              -
45 Acc-54                                                $                -   $               -   $                -     $              -
46 Acc-55                                                $                -   $               -   $                -     $              -
47 Acc-56                                                $                -   $       1,127,134   $          159,667     $      1,286,800
48 Acc-57                                                $          855,852   $         144,148   $                -     $      1,000,000
49 Acc-61                                                $                -   $               -   $                -     $              -
50 Acc-62                                                $                -   $               -   $                -     $              -
51 Acc-63                                                $                -   $               -   $                -     $              -
52 Acc-66                                                $          337,500   $         448,695   $          223,181     $      1,009,376
53 Acc-67                                                $                -   $               -   $                -     $              -
54 Acc-68                                                $           16,141   $          21,541   $            9,899     $         47,580
55 Acc-69                                                $                -   $               -   $                -     $              -
56 Acc-70                                                $                -   $               -   $                -     $              -
57 Acc-71                                                $          815,360   $         224,314   $          111,893     $      1,151,566
58 Acc-72                                                $          404,591   $         109,874   $           54,849     $        569,315
59 Acc-73                                                $           51,293   $               -   $           27,420     $         78,713
60 Acc-74                                                $          890,211   $               -   $                -     $        890,211
61 Acc-75                                                $          529,697   $         460,762   $           78,789     $      1,069,248
62 Acc-76                                                $                -   $         981,264   $          109,147     $      1,090,411
63 Acc-77                                                $                -   $               -   $          967,883     $        967,883
64 Acc-78                                                $                -   $               -   $                -     $              -
65 Acc-79                                                $                -   $       4,873,901   $        1,794,195     $      6,668,096
66 Acc-80                                                $        1,357,418   $               -   $                -     $      1,357,418
67 Acc-81                                                $           58,333   $          93,174   $           69,808     $        221,315
68 Acc-82                                                $                -   $               -   $                -     $              -
69 Acc-83                                                $          131,250   $         186,707   $                -     $        317,957
70 Acc-84                                                $                -   $               -   $                -     $              -
71 Acc-85                                                $                -   $         766,944   $           97,741     $        864,685
72 Acc-86                                                $                -   $               -   $                -     $              -
73 Acc-87                                                $                -   $       2,400,000   $          231,781     $      2,631,781
74 Acc-88                                                $                -   $               -   $                -     $              -
75 Acc-89                                                $                -   $               -   $                -     $              -
76 Acc-90                                                $          341,502   $          54,640   $                -     $        396,143

77 Total                                                 $       19,439,947   $      31,055,220   $       11,213,759     $     61,708,926

78 Accounts Generating Revenue                                           28                  38                   37                     45



   Source: NSO_WHATSAPP_00045858. I have included revenue for accounts labeled "PGS" in "Product" column and
   "Yes" in "Covert Android was provided" column.
   Calculated as revenue in columns C through K (revenue without considerations for time-based adjustments) multiplied
   by allocation presented for Covert Android deal portion (column V).




                                                                     2 of 2                                                          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
